Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 1 of 13 PAGEID #: 133

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION (DAYTON)

NEWBORN AUDIOLOGY SCREENINGS, : Case No. 3:19-cv-00100-TMR-SLO
PC.
: (Judge Thomas M. Rose)
Plaintiff, : (Magistrate Judge Sharon L. Ovington)

Vv.

AMENDED STIPULATED
CONFIDENTIALITY AND
PROTECTIVE ORDER

KETTERING ADVENTIST HEALTHCARE
d/b/a Kettering Health Network

Defendant.

 

WHEREAS, the Court recognizes the legitimate interests of the parties in the
above-captioned action in the confidentiality and security of business, personnel, and
proprietary documents and information, and pursuant to the parties’ stipulation to the
same:

IT IS HEREBY ORDERED as follows:

1. This Amended Stipulated Confidentiality and Protective Order (“Order”)
governs all documents and information produced in this action by Plaintiff, Newborn
Audiology Screenings, P.C. (‘Plaintiff’), and Defendant, Kettering Adventist Healthcare
(‘Defendant’); all copies of or information contained in any such documents: and all
other information provided by Plaintiff and Defendant, including but not limited to
deposition, hearing, and trial testimony (“Litigation Material’).

2. Litigation Material shall be used solely for the purpose of preparing for or
conducting the trial of this action (including appeals or retrials), or settling this action,

and shall not be disclosed or used for any other purpose, including business,
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 2 of 13 PAGEID #: 134

governmental, commercial, administrative, or judicial proceedings, except as otherwise
required by law.

De Any person producing Litigation Material may designate as “Confidential”
or “Attorney's Eyes Only” any Litigation Material, or portions thereof, which the
producing party reasonably believes in good faith to be consistent with the following
definitions. “Confidential” shall be utilized for Litigation Material containing non-public,
sensitive commercial, financial, or proprietary business information or personal
information. “Attorney's Eyes Only” shall be limited to Litigation Material containing trade
secrets, non-public proprietary information, such as pricing, source, or object coding; or
other highly-sensitive commercial information, which, if revealed to the receiving party,
could be seriously damaging to the producing entity or could put the producing entity at
a competitive disadvantage.

4. With respect to hard copy information, one may designate as Confidential
or Attorney’s Eyes Only any documents, or portion or portions thereof, by stamping the
word “Confidential” or “Attorney's Eyes Only” on every such page at, or prior to, the time
of production. In the alternative, information may also be designated as confidential by
sending written notice to counsel for all other parties specifically designating the
material that is to be treated as confidential at, or prior to, the time the material is
produced.

5. To the extent that ESI is produced, whether in native format, i.e., the
software format in which the document or information was originally created and stored
on the producing entity’s storage media or produced in image file format, €.g., portable
data file (“PDF”) or tagged image file format (“TIFF”), one may designate as Confidential

or Attorney’s Eyes Only any native ESI by segregating such files or images ona

2
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 3 of 13 PAGEID #: 135

separate disk, with each file or image on the disk having a unique name or number
identifier, and labeling the entire disk with the word “Confidential” or “Attorney's Eyes
Only” at or prior to the time of production. In the alternative, such information may be
designated as Confidential or Attorney's Eyes Only by sending written notice to counsel
for all other parties specifically designating the material that is to be treated as
confidential at or prior to the time the material is produced.

6. One may designate as Confidential or Attorney's Eyes Only any
deposition or other testimony by so stating on the record on the day the testimony is
given or by sending written notice to counsel for all other parties designating, by page
and line, the portion of any transcript or transcripts to be treated as Confidential or
Attorney's Eyes Only, within 20 days of receipt of the applicable transcript or transcripts.

a. One may designate as Confidential or Attorney's Eyes Only any other
Litigation Material not encompassed within the paragraphs above and in the same
manner as described in paragraphs 3 through 6 or by sending written notice to counsel
for all other parties specifically designating the material that is to be treated as
confidential, at or prior to the time the material is produced.

8. In the event a producing party elects to produce large volumes of files and
records for inspection and a receiving party desires to inspect such files and records, in
order to facilitate prompt discovery, no designations of confidentiality need be made by
the producing party in advance of the initial inspection. For purposes of the initial
inspection, all documents within the produced files and records shall be treated as
Confidential. Thereafter, upon selection by a receiving party of specified documents for

copying, the producing party shall mark the copies of such documents that contain
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 4 of 13 PAGEID #: 136

Confidential or Attorney's Eyes Only information with a legend as described in
paragraph 4.

9. In the event that a producing party produces files and records in electronic
form, the producing party shall simultaneously provide a schedule of such files and
records containing a designation of those that contain Confidential or Attorney's Eyes
Only information. In the event that any such files or records are thereafter printed out in
hard copy by the receiving party, the receiving party shall affix on each page thereof a
label with such designation as is contained on the schedule provided by the producing
party.

10. This paragraph shall be applicable to any electronic data produced subject
to the terms of this Order. The receiving party shall use such data solely for the
purposes of this litigation and shall, upon the termination of this litigation, return the
original electronic media (and any copies thereof) to the producing party and shall
delete such data from any computer upon which the data may have been loaded.
Nothing in the foregoing shall be deemed to preclude the receiving party from making
reports, taking screen prints, or creating simulations using such data for the purpose of
this litigation, but any such work product shall be deemed to have the same level of
confidentiality designation as the data from which it came, and subject to the terms of
this Order.

11. The inadvertent failure by a producing party to designate a document or
testimony as Confidential or Attorney's Eyes Only shall not constitute a waiver of such
producing party's right to so designate the document or testimony when the error is
discovered. Such designation shall be effective when communicated in writing to

counsel for the receiving party. In the event that a post-production designation of

4
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 5 of 13 PAGEID #: 137

Confidential or Attorney's Eyes Only is made, counsel of record for the receiving party
shall immediately make every effort reasonable, to identify and isolate the newly
designated documents, and as needed, recall the distribution of those newly designated
documents, and terminate further access to the same except by those authorized, as
applicable, in paragraphs 12 and 13 of this Order.

12. All Litigation Material designated or stamped as Confidential, any copies
thereof, and the information contained therein, shall not be given, shown, made
available, or communicated in any way, to anyone, except those persons listed below,
unless ordered by the Court or done with the prior written consent of the producing
party’s counsel. All Confidential material shall be maintained in confidence by counsel
of record for the party to whom such Litigation Material is produced or given and shall
not be disclosed to any other person in this or any subsequent litigation except:

a) the Court (including clerks and other court personnel);

b) the parties and their attorneys, including directors, officers, and in-
house counsel of parties, who are assisting them for the purpose of
preparing for, conducting, or settling this action;

c) court reporters who transcribe depositions or other testimony in this
action;

d) any employees of the parties who are assisting the parties for the
purposes of preparing for, conducting, or settling this action;

e) consultants or expert witnesses retained by a party for the purpose
of preparing for, conducting, or settling this action, who will utilize any
Confidential Material disclosed solely to assist in preparing for,

conducting, or settling this action; and

5
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 6 of 13 PAGEID #: 138

7;

f) any deposition or trial witness, but only to the extent that such
witness testimony involves the matters governed by, subsumed within, or
otherwise affected by information or documents designated as
Confidential Material.

All Litigation Material designated or stamped as Attorney's Eyes Only shall

be maintained in confidence by counsel of record for each receiving party and shall only

be disclosed to the following persons:

14,

a) the attorneys representing the parties in this action (Hahn Loeser &
Parks, LLP and Taft Stettinius & Hollister LLP) and their paralegals,
clerical, and secretarial staff;

b) independent expert witnesses, law firms, and attorneys who
represent a Party (including but not limited to Flaster Greenberg, P.C.)
and their paralegals, clerical, and secretarial staff, who are not presently
employees, officers, shareholders, directors, partners, limited partners, or
similarly affiliated with a Party in this action; provided, however, that this
provision shall not prohibit any party from seeking an Order from the Court
preventing anyone authorized under paragraph 13(b) access to
“Attorney's Eyes Only” information and documentation for good cause
shown;

Cc) court reporters; and

d) the Court and its support personnel, pursuant to the provisions set
forth herein or as otherwise ordered by the Court.

If the producing entity agrees in writing, the parties may include additional

persons or categories of persons, beyond those listed in paragraphs 12 and 13, to

6
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 7 of 13 PAGEID #: 139

whom Litigation Material designated as either Confidential or Attorney's Eyes Only may
be given, shown, made available, or communicated. Absent the agreement of the
producing entity, each party reserves the right to move the Court for good cause shown
to seek to include additional persons or categories of persons, beyond those listed in
paragraphs 12 and 13, to whom Litigation Material designated as either Confidential or
Attorney’s Eyes Only may be given, shown, made available, or communicated.

15. Nothing herein shall restrict the persons identified in paragraphs 12 or 13
from making working copies for use in their offices or for use during examination of
witnesses. Such working copies shall be automatically designated as either Confidential
or Attorney’s Eyes Only to match the designation of the document from which it was
made.

16. Any person identified in paragraphs 12(d), (e), and (f), or 13(b) above,
who is given access to Litigation Material designated either as Confidential or Attorney's
Eyes Only shall, prior thereto, be given a copy of this Order and shall acknowledge
receipt thereof, and consent to be bound thereby and subject to sanctions of this Court,
by signing a written statement substantially in the form of Exhibit A, attached hereto.
Each party shall maintain a copy of any such signed exhibits; however, no party shall be
required to produce those exhibits to any other party unless ordered to do so by the
Court.

17. No Confidential or Attorney's Eyes Only Litigation Material shall be filed
with the Court unless leave is granted to file it under seal, pursuant to Local Rule 5.2.1.

18. If Litigation Material designated as Confidential or Attorney’s Eyes Only is
sought to be used or introduced at a hearing or trial of this action, counsel for the party

seeking to use or introduce such Litigation Material shall so advise the Court and

Zz
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 8 of 13 PAGEID #: 140

request that the Court take such steps as it deems appropriate to protect the
confidentiality of the Litigation Material.

19. Nothing in this Order shall prevent any party from disclosing its own
Litigation Material, and any such disclosure shall not be deemed a waiver of any other
party's rights or obligations under this Order.

20. To the extent that a party produced documents in redacted format prior to
the date of entry of this amended Order, the receiving party may continue to use the
redacted versions of those documents subject to any confidentiality designations that
the producing party may have marked on those documents at the time of production. If
a producing party subsequently removes the redactions and produces the documents
with the Attorney’s Eyes Only designation, the Attorney's Eyes Only designation will
only apply to the previously-redacted information contained in those documents.

21. Nothing herein shall restrict a receiving party’s counsel from providing to
his/her client a general description of any documents that the producing party marks as
Attorney’s Eyes Only. In such cases, the receiving party's counsel may advise his/her
client as to the names or titles of the documents marked as Attorney's Eyes Only, as
well as the number of pages of each document and a general description of the
contents of any such documents. The receiving party's attorney is expressly prohibited
from providing his/her client with any specific provisions in any documents marked as
Attorney’s Eyes Only, including but not limited to any dollar amounts listed in these
documents. But the receiving party’s attorney may provide his/her client with a broad
description of any comparison of fees between documents that are marked Attorney’s
Eyes Only (for example, the receiving party may advise his/her client that the amount of

certain fees increased over time).
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 9 of 13 PAGEID #: 141

22. The production or disclosure of Litigation Material marked as Confidential
or Attorney’s Eyes Only shall in no way constitute a waiver of the producing party's right
to object to the production or disclosure of any other information or documents in this
action. The inadvertent production of any “Confidential” or “Attorney's Eyes Only”
Litigation Material during discovery in this action without the “Confidential” or “Attorney’s
Eyes Only” designation shall be without prejudice to any subsequent claim that such
material is “Confidential” or “Attorney's Eyes Only.” The parties hereto expressly
reserve the right to seek any appropriate order modifying this Order or imposing
additional restrictions on discovery in this action, including an order that production not
be had. Nothing herein shall be read as to waive any privilege or exemption from
production that any party may assert independent of this Order.

23. If any document is inadvertently produced that is subject to a claim of
privilege or of protection as attorney work-product and the producing party notifies the
non-producing party of the claim and the basis for it, then: (a) such disclosure shall be
without prejudice to any claim of privilege or protection; (b) the non-producing parties
shall not argue that such production constitutes waiver of any claim of privilege or
protection; and (c) the non-producing parties shall promptly return or destroy the
documents in question and any copies. If any of the non-producing parties in good faith
dispute the claim of privilege or protection, the non-producing parties may maintain one
copy of the disputed material, provided it promptly presents the information to the Court
under seal for a determination of the claim. If the non-producing parties disclosed the
information before being notified, it must take reasonable steps to retrieve it. The

producing party must preserve the information until the claim is resolved.
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 10 of 13 PAGEID #: 142

24. Any party that objects to another party's designation of Litigation Material
as Confidential or Attorney's Eyes Only shall first state its objection in writing to the
producing party. The parties agree to confer in good faith to resolve any dispute arising
under this Order. If the parties are unable to resolve such dispute, any party may move
the Court to do so upon notice in writing to counsel for all other parties to this action and
upon such other notice as is provided by law or rule.

25. Inthe event any receiving party has possession, custody, or control of any
Litigation Material designated as Confidential or Attorney's Eyes Only that becomes the
subject of a subpoena or a demand for the production of such Litigation Material in
another matter, that receiving party shall make all reasonable efforts to notify counsel
for the producing entity of such a subpoena or demand, so as to permit counsel time to
seek an appropriate order modifying or quashing the subpoena or demand.

26. This Order shall bind the parties and shall continue to be binding on the
parties throughout and after the conclusion of this action, including any appeals or
retrials. This Court shall retain jurisdiction of this action for the purpose of enabling any
party, person, or other entity to apply for any order or relief as may be deemed
necessary or appropriate to enforce this Order. Within sixty days after the final
disposition of this litigation, the producing party shall instruct the receiving party whether
materials containing Confidential or Attorney's Eyes Only information should be
returned or destroyed. Said instructions shall be complied with within thirty days.

27. The “return or destroy” requirements shall also apply to documents
containing Confidential or Attorney's Eyes Only information in the possession of

qualified persons.

10
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 11 of 13 PAGEID #: 143

28. Notwithstanding the foregoing, each party’s counsel may retain in his or
her file one copy of all discovery requests and responses, and all documents filed with
the Court in connection with this action, even if such documents contain Confidential
information, except that all documents containing protected health information (“PHI”),
as that term is defined in 45 CFR § 160.103, shall be returned to the producing party or
destroyed as required by 45 CFR § 164.512(e)(1)(v)(B). The party producing
documents containing PHI will instruct the receiving party as to its preference (return or
destruction) within sixty days after the final disposition of this litigation, and said
instructions shall be complied with within thirty days of that notice. The “return or
destroy” requirements of this paragraph shall also apply to documents containing PHI in
the possession of qualified persons.

29. Nothing in this Order shall prevent a producing party from seeking further,
greater, or lesser protection with respect to the use of any Confidential or Attorney's
Eyes Only Litigation Material, subject to the limitations noted in paragraphs 20-21 of this
Order

30. Nothing in this Order shall be construed to affect in any way the
admissibility of any Document, testimony, or other evidence at a trial of this action; and
nothing in this Order shall preclude any party from seeking an Order of the Court
governing the protection and handling of Confidential or Attorney’s Eyes Only
information at trial.

31. The parties shall be entitled to rely upon and shall be bound by this Order
when it has been signed by the parties’ counsel, whether or not this Order has been

signed by the Court.

11
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 12 of 13 PAGEID #: 144

32. | Any producing party shall be entitled to all remedies existing under law
and equity in the event of any unauthorized disclosure of Confidential or Attorney's Eyes
Only information, or any other breach of this Order, by either a receiving party or any
person to whom a receiving party has disclosed Confidential or Attorney’s Eyes Only

information in violation of the Order.

 

 

 

 

SO ORDERED. ,
Jj) / ’
ie ia,
likin
UNITED STATES MAGISYRATE JUDGE
Approved: Approved:
s/ Justin M. Croniser (via email authority s/ Timothy G. Pepper
on March 12, 2020) Timothy G. Pepper (0071076)
Royce R. Remington (0040408) Trial Attorney
Trial Attorney Christopher S. Houston (0087990)
Justin M. Croniser (0079462) Zachary S. Arnold (0096819)
A.J. Hensel (0085340) TAFT STETTINIUS & HOLLISTER LLP
HAHN LOESER & PARKS LLP 40 N. Main St., Suite 1700
200 Public Square, Suite 2800 Dayton, Ohio 45423
Cleveland, Ohio 44114 Phone: 937-228-2838
Phone: 216-621-0150 Fax: 937-228-2816
Fax: 216-241-2824 pepper@taftlaw.com
rrr@hahnlaw.com chouston@taftlaw.com
jcroniser@hahnlaw.com zarnold@taftlaw.com

ajhensel@hahnlaw.com
Counsel for Defendant
Counsel for Plaintiff

1zZ
Case: 3:19-cv-00100-TMR-SLO Doc #: 23 Filed: 03/19/20 Page: 13 of 13 PAGEID #: 145

EXHIBIT A

| acknowledge my understanding that Confidential material and Attorney’s Eyes
Only material, as defined in the Amended Stipulated Confidentiality and Protective
Order entered in Newborn Audiology Screenings, P.C., v. Kettering Adventist
Healthcare, United States District Court for the Southern District of Ohio, Case No.
3:19-cv-00100, is being provided to me pursuant to the terms and restrictions of that
Order. My signature below constitutes an acknowledgement that | have read the Order
and consent to be bound by it, and subject to sanctions of this Court. | also understand
and agree that | am subject to penalty for contempt of court for any violation of the
terms of that Order.

Dated: Signature:

 

Printed Name:

 

13
11622615.1
